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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE



    In re:                                                    Chapter 11

    TOUGH MUDDER, INC., et al.,                               Case No. 20-10036 (CSS)
                        Debtors.1
                                                              (Jointly Administered)

                                                               Objection Deadline:
                                                               February 20, 2020 at 4:00 p.m. (EST)
                                                               (extended by agreement)

                                                               Hearing Date:
                                                               February 25, 2020 at 1:00 p.m. (EST)

                                                               Re: D.I. 30

OBJECTION TO CHAPTER 11 TRUSTEE’S MOTION FOR ENTRY OF AN ORDER (I)
  APPROVING ENTRY INTO AND PERFORMANCE UNDER ASSET PURCHASE
    AGREEMENT BY AND AMONG SPARTAN RACE, INC., AND DEBTORS’
  CHAPTER 11 TRUSTEE, (II) AUTHORIZING THE SALE OF SUBSTANTIALLY
  ALL OF THE DEBTORS’ ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
   ENCUMBRANCES, AND INTERESTS, (III) APPROVING THE ASSUMPTION
        AND ASSIGNMENT OF CERTAIN CONTRACTS AND RELATED
      PROCEDURES, (IV) APPROVING THE BID PROTECTIONS, AND (V)
                     GRANTING RELATED RELIEF

             STORM EVENTS, LLC, a California limited liability company (“Storm Events”), hereby

objects to the assumption of its unexpired contracts unless and until, in accordance with 11 U.S.C.

§ 365, all amounts outstanding under the contracts are cured and it is provided adequate assurance

of future performance. In support of its limited objection, Storm Events state as follows:




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845). The Debtors’ address is 15
MetroTech Center, Brooklyn, NY 12201.
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                                         BACKGROUND

       1.      On January 7, 2020, a chapter 11 involuntary petition was filed by petitioning

creditors against the now jointly-administered Debtors, including Tough Mudders, Inc.

(collectively, the “Debtors”).

       2.      On January 7, 2020, an Emergency Motion for Appointment of Chapter 11 Trustee

[D.I. 3] was filed by the petitioning creditors.

       3.      On January 21, 2020, an Order Directing the Appointment of a Chapter 11 Trustee

[D.I. 18] was entered, and on January 30, 2020, an Order Approving the Appointment of Derek C.

Abbott, Esq. as Chapter 11 Trustee (the “Trustee”) [D.I. 24] was entered.

       4.      On February 7, 2020, the Trustee filed his Motion for Entry of an Order (I)

Approving Entry Into and Performance Under Asset Purchase Agreement by and Among Spartan

Race, Inc., and Debtors’ Chapter 11 Trustee, (II) Authorizing the Sale of Substantially All of the

Debtors’ Assets Free And Clear of All Liens, Claims, Encumbrances, and Interests, (III) Approving

the Assumption and Assignment of Certain Contracts and Related Procedures, (IV) Approving the

Bid Protections, and (V) Granting Related Relief (the “Motion”) [D.I. 30].

       5.      Storm Events and Debtor Tough Mudder, Inc. are parties to that certain “Event

Agreement” dated as of January 5, 2017, as amended by that certain “Tough Mudder Storm Events

Agreement Amendment” dated as of September 30, 2019 (as may have been thereafter modified

or amended, the “Agreement”).

       6.      Exhibit D to the Motion lists the Agreement as “Assumed Events” at Lake Elsinore.

Mot. Ex. D (p. 2). The Motion lists the cure amount as $10,000.
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                               OBJECTION TO CURE AMOUNT

        7.      Storm Events demands that the Debtors or any other assignee of the Agreement

promptly pay upon the effectiveness of any assumption, or provide Storm Events with adequate

assurance that they or any potential assignee of the Agreement will promptly pay, all monetary

amounts pursuant to 11 U.S.C. § 365(d) to effect the cure of pre-assumption defaults required by

that section. Those amounts and the description of each is set forth on Exhibit 1 hereto

(collectively, the “Aging Amounts”). The Aging Amounts include no less than $18,330.43,

representing unpaid charges from the last event. In addition to the Aging Amounts, Storm Events

is entitled to the following default amounts: (i) any unbilled deposits for future events, and (ii) all

other amounts that have not yet become due to Storm Events under applicable law, but that may

become due prior to any proposed assumption of the Agreement; collectively, these amounts are

referred to as the “Default Amounts” and together with the Aging Amounts, the “Cure Amounts.”

As of the date of this pleading, the Cure Amounts total at least $18,330.43.

        8.      Storm Events objects to assumption of the Lease unless and until the Cure Amounts

are paid in full.
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                                      CONCLUSION

       WHEREFORE Storm Events respectfully requests that this Court enter an order sustaining

its objection to the Motion.



Date: February 20, 2020
      Wilmington, Delaware
                                                  CIARDI CIARDI & ASTIN



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